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                         IN THE UNITED STATES DISTRICT COURT

                         FOR THE SOUTHER}IDISTRICT OF GEORGIA

                                         SAVANNAH DIVISION
                                                                         u.s, mBrRtcT
                                                                                    counT
                                                                         SsuthoynDNstrletof C..
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THE IINITED      STATES OF AMERICA.                          )
                                                             )
                       Plaintiff,                            )
                                                             )
                                                             \4   :L7CR208
                                                             )
RON ALLEN,                                                   )
                                                             )
                       Defendant.                            )




                                             ORDER




        Counsel     j-n the       above-captioned           case have    advj_sed the    Court

that    all   pretrial         motions    have been cornplied with           and/or   t.hat all

matLers       raised      in    the    parties,      motions      have    been   resolved    by

agreement.      Therefore,        a hearing       in this    case is deemed unnecessary,




        SO ORDERED, EhiS              2rA day of February,           2 018




                                             SOUTHERN DISTRICT           OF GEORGIA
